

People v Velez (2023 NY Slip Op 02068)





People v Velez


2023 NY Slip Op 02068


Decided on April 20, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 20, 2023

Before: Oing, J.P., González, Shulman, Higgitt, JJ. 


Ind. No. 3019/13 Appeal No. 73 Case No. 2015-02425 

[*1]The People of The State of New York, Respondent, 
vAaron Velez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Richard Joselson of counsel), and DLA Piper LLP (US), New York (Jessica Park Wright of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Bonnie Wittner, J.), rendered July 23, 2015,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 20, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








